            Case 6:11-cv-06174-SI      Document 72        Filed 08/28/13   Page 1 of 8




Andrea D. Coit, OSB #002640
andrea.coit@harrang.com
Jeffery J. Matthews, OSB #973280
jeffery.j.matthews@harrang.com
HARRANG LONG GARY RUDNICK P.C.
360 East 10th Avenue, Suite 300
Eugene, OR 97401-3273
Telephone:     541.485.0220
Facsimile:     541.686.6564
Of Attorneys for Defendants




                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION


DANIEL HARRIGAN, by and through his                                Case No. 6:11-cv-06174-SI
guardians CAROLE HARRIGAN and
RANDY HARRIGAN,                                      DEFENDANTS’ LAY WITNESS LIST

                Plaintiff,

       vs.

MARION COUNTY, et al.,

                Defendants.



       Defendants may call some or all of the following witnesses at trial. Defendants reserve

the right to call additional witnesses for impeachment.
       1.       Deputy Jason Bernards
                Marion County Sheriff’s Office
                100 High Street
                Salem, OR 97301
       Testimony – 2 hours.


Page 1 – DEFENDANTS’ LAY WITNESS LIST
            Case 6:11-cv-06174-SI      Document 72      Filed 08/28/13      Page 2 of 8




       Deputy Bernards will testify about the encounter with plaintiff, his observations of the

encounter and his training.


       2.       Deputy Jeffrey Stutrud
                Marion County Sheriff’s Office
                100 High Street
                Salem, OR 97301
       Testimony – 2 hours.

       Deputy Stutrud will testify about the encounter with plaintiff, his observations of the

encounter and his training.


       3.       Deputy Stacy Rejaian
                Marion County Sheriff’s Office
                100 High Street
                Salem, OR 97301
       Testimony – 2 hours.

       Deputy Rejaian will testify about the encounter with plaintiff, his observations of the

encounter and his training.


       4.       Sergeant Shane Burnham
                Marion County Sheriff’s Office
                100 High Street
                Salem, OR 97301
       Testimony – 2 hours.
       Sergeant Burnham will testify about the encounter with plaintiff, his observations of the

encounter, his supervision and his training.


       5.       Deputy Cody Lane
                Marion County Sheriff’s Department
                100 High Street
                Salem, OR 97301
       Testimony – 45 minutes.

       Deputy Lane will testify about the encounter with plaintiff, his observations of the

encounter and his training.

Page 2 – DEFENDANTS’ LAY WITNESS LIST
            Case 6:11-cv-06174-SI       Document 72        Filed 08/28/13      Page 3 of 8




       6.       Deputy Jerry Wollenschlaeger
                Marion County Sheriff’s Department
                100 High Street
                Salem, OR 97301
       Testimony – 45 minutes.

       Deputy Wollenschlaeger will testify about the encounter with plaintiff, his observations

of the encounter and his training.


       7.       Deputy Kevin Rau
                Marion County Sheriff’s Department
                100 High Street
                Salem, OR 97301
       Testimony – 1 hour.

       Deputy Rau will testify regarding training and Sheriff Department policies.

       8.    Rick Krump
             State Operated Care Program House
             House Manager
             1999 74th Avenue, SE
             Salem, OR 97317
       Testimony – 45 minutes.
       Mr. Krump will testify about his job duties at the MacLeay House, his observations of

and interactions with plaintiff, his communications with law enforcement and other staff

regarding plaintiff on the night of the incident, his observations of the incident and his
observations of plaintiff following the incident.


       9.       Jean Peterson
                1999 74th Avenue, SE
                Salem, OR 97317
       Testimony – 45 minutes.

       Ms. Petersen will testify about her job duties at the MacLeay House, her observations of

and interactions with plaintiff, plaintiff’s attack on her the night of the incident, her need for

medical care after the attack, her communications with law enforcement and other staff regarding


Page 3 – DEFENDANTS’ LAY WITNESS LIST
          Case 6:11-cv-06174-SI         Document 72        Filed 08/28/13      Page 4 of 8




plaintiff on the night of the incident, her observations of the incident and her observations of

plaintiff following the incident.


       10.     Yoko Whitfield
               1999 74th Avenue, SE
               Salem, OR 97317
       Testimony – 45 minutes.

       Ms. Whitfield will testify about her job duties at the MacLeay House, her observations of

and interactions with plaintiff, plaintiff’s attack on her the night of the incident, her need for

medical care after the attack, her communications with law enforcement and other staff regarding

plaintiff on the night of the incident, her observations of the incident and her observations of

plaintiff following the incident.


       11.     Brenda Hawks
               1999 74th Avenue, SE
               Salem, OR 97317
       Testimony – 45 minutes.

       Ms. Hawks will testify about her job duties at the MacLeay House, her observations of

and interactions with plaintiff, her observations of plaintiff’s attack on her fellow staff members

and their need for medical care after the attack, her communications to the 911 operator,

communications with law enforcement and other staff regarding plaintiff on the night of the
incident, her observations of the incident and her observations of plaintiff following the incident.


       12.     Steve Holmes
               1999 74th Avenue SE
               Salem, OR 97317
       Testimony – 1 hour.

       Mr. Holmes will testify about his job duties at the MacLeay House, his observations of

and interactions with plaintiff, his communications with paramedics and law enforcement and



Page 4 – DEFENDANTS’ LAY WITNESS LIST
          Case 6:11-cv-06174-SI         Document 72        Filed 08/28/13     Page 5 of 8




other staff regarding plaintiff on the night of the incident, his observations of the incident and his

observations of plaintiff following the incident.


       13.     Damon Frutos – EMT
               Willamette Valley Fire and Rescue
               300 Cordon Rd NE
               Salem OR 97317
       Testimony – 15 minutes.

       Mr. Fruotos will testify about his response to MacLeay House on September 21, 2010,

his communications with the Sheriff’s Department and staff regarding medical care for the

injured staff members and his observations of the incident.

       14.     Alex Bancroft – EMT
               Willamette Valley Fire and Rescue
               300 Cordon Rd NE
               Salem OR 97317
       Testimony - 15 minutes.

       Mr. Bancroft will testify about his response to MacLeay House on September 21, 2010,

his communications with the Sheriff’s Department and staff regarding medical care for the

injured staff members and his observations of the incident.


       15.     Scott Seaton – EMT
               Willamette Valley Fire and Rescue
               300 Cordon Rd NE
               Salem OR 97317
       Testimony – 30 minutes.

       Mr. Seaton will testify about the EMT response to MacLeay House on September 21,

2010, communications with the Sheriff’s Department and staff regarding medical care for the

injured staff members, and observations of the incident.

////

////



Page 5 – DEFENDANTS’ LAY WITNESS LIST
          Case 6:11-cv-06174-SI         Document 72       Filed 08/28/13      Page 6 of 8




       16.     Kris Williams – EMT
               Willamette Valley Fire and Rescue
               300 Cordon Rd NE
               Salem OR 97317
       Testimony – 30 minutes.

       Kris will testify about EMT response to MacLeay House on September 21, 2010,

communications with the Sheriff’s Department and staff regarding medical care for the injured

staff members, and observations of the incident.


       17.     Marion County Sheriff Jason Meyers
               Marion County Sheriff’s Department
               100 High Street
               Salem, OR 97301
       Testimony – 45 minutes.

       Sheriff Meyers will testify about department policies, procedures and training. He will

also testify about his personal involvement in matters related to the incident at issue in this case,

including any formal review of the incident.


       18.     Marion County Under Sheriff Troy Clausen
               Marion County Sheriff’s Department
               100 High Street
               Salem, OR 97301
       Testimony – 45 minutes.
       Under Sheriff Clausen will testify about department policies, procedures and training. He

////

////

////

////

////

////



Page 6 – DEFENDANTS’ LAY WITNESS LIST
          Case 6:11-cv-06174-SI         Document 72        Filed 08/28/13     Page 7 of 8




will also testify about his personal involvement in matters related to the incident at issue in this

case, including any formal review of the incident.

       DATED this 28th day of August, 2013.

                                               HARRANG LONG GARY RUDNICK P.C.



                                               By:      s/ Andrea D. Coit
                                                     Andrea D. Coit, OSB #002640
                                                     andrea.coit@harrang.com
                                                     Jeffery J. Matthews, OSB #973280
                                                     jeffery.j.matthews@harrang.com
                                                     Telephone: 541.485.0220
                                                     Facsimile:      541.686.6564
                                                     Of Attorneys for Defendants




Page 7 – DEFENDANTS’ LAY WITNESS LIST
             Case 6:11-cv-06174-SI      Document 72       Filed 08/28/13    Page 8 of 8




                                 CERTIFICATE OF SERVICE


         I certify that on August 28, 2013, I served or caused to be served a true and complete

copy of the foregoing DEFENDANTS’ LAY WITNESS LIST on the party or parties listed

below as follows:
                   Via CM / ECF Filing
                   Via First Class Mail, Postage Prepaid
                   Via Email
                   Via Personal Delivery


Jessica Ashlee Albies
Beth Ann Creighton
Michael E. Rose
Creighton & Rose, P.C.
815 SW Second Avenue, Suite 500
Portland, OR 97204
  Attorneys for Plaintiff


                                              HARRANG LONG GARY RUDNICK P.C.



                                              By: s/ Andrea D. Coit
                                                 Andrea D. Coit, OSB #002640
                                                 andrea.coit@harrang.com
                                                 Jeffery J. Matthews, OSB #973280
                                                 jeffery.j.matthews@harrang.com
                                                 Telephone: 541.485.0220
                                                 Facsimile:      541.686.6564
                                                 Of Attorneys for Defendants
00517842.1




CERTIFICATE OF SERVICE
